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                       IN THE UNITED STATES DISTRICT COURTCLERZDTRICLCOUR$
                                                                BY___-' i
                        FOR THE WESTERN DISTRICT OF TEXAS WESTERN
                               SAN ANTONIO DIVISION


UNITED STATES OF AMERICA,                   (SUPERSEDING INDICTMENT
         Plaintiff,                         Case No.: SA-20-CR-00543-OLG

                                            COUNT I: Title 21, U.S.C. § 846,
                 v.                         841(a)(1) & 841(b)(1)(A) - Conspiracy
                                            to Possess with intent to Distribute
                                            (Methamphetamine)

FAUSTINO CAMPOS NAJERA (2),                 COUNT II: Title 21, U.S.C. § 846,
GENARO ORTIZ, also known as "Carita" (3),   841(a)(1) & 841(b)(1)(A) - Conspiracy
VICENTE RIVERA CENICEROS (4),               to Possess with intent to Distribute
GUILLERMO BERMUDEZ OLIVARES (5),            (Cocaine)
RAFAEL PALACIOS SANCHEZ (7),                COUNT III: Title 21, U.S.C. § 846,
HERIBERTO DE LA GARZA SAUCEDO (8),          841(a)(1) & 841(b)(1)(A) - Conspiracy
                                            to Possess with intent to Distribute
SALVADOR ELI LOZANO ALVARADO                (Heroin)
(10),
JOSE LUIS NAJERA, also known as "Chepe"     COUNT IV: Title 21, U.S.C. §
(11).                                       841(a)(1) & 841(b)(1)(c), 18 U.S.C. § 2 -
                                            Possession with intent to Distribute
                                            (Cocaine), and Aiding and Abetting
SERGIO IVAN CUELLAR, also known as
"Checo" (13),                               COUNT V: Title 21, U.S.C. §
GERARDO SOTO GOMEZ (14),                    841(a)(1) & 841(b)(1)(A) - Possession
HOMERO DE LA GARZA (15),                    with intent to Distribute
and                                         (Methamphetamine)
                                            COUNT VI: Title 21, U.S.C. §
         Defendants.                        841(a)(1) & 841(b)(1)(A) - Possession
                                            with intent to Distribute
                                            (Methamphetam me)
                                            COUNT VII: Title 21, U.S.C. §
                                            841(a)(1) & 841(b)(1)(A), 18 U.S.C. § 2
                                            - Possession with intent to Distribute
                                            (Methamphetamine), and Aiding and
                                            Abetting
                                            COUNT VIII: Title 21, U.S.C. §
                                            841(a)(1) & 841(b)(1)(A), 18 U.S.C. § 2
                                            - Possession with intent to Distribute
                                            (Methamphetamine), and Aiding and
                                            Abetting
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                                                       COUNT IX: Title 21, U.S.C. § 846,
                                                       841(a)(1) & 841(b)(1)(A), 18 U.S.C. § 2
                                                       - Attempted Possession with intent to
                                                       Distribute (Cocaine), and Aiding and
                                                       Abetting
                                                       COUNTX: Title 21, U.S.C.    §
                                                       841(a)(1) & 841(b)(1)(A), 18 U.S.C. § 2
                                                       - Possession with intent to Distribute
                                                       (Methamphetamine), and Aiding and
                                                       Abetting
                                                       COUNT XI: Title 21, U.S.C. §846
                                                       and 841(a)(1) & 841(b)(1)(A), 18 U.S.C.
                                                       § 2 - Attempted Possession with intent
                                                       to Distribute (Methamphetamine), and
                                                       Aiding and Abetting

                                                       COUNT XII: Title 21, U.S.C. § 846
                                                       and 841(a)(1) & 841(b)(1)(A), 18 U.S.C.
                                                       § 2 - Attempted Possession with intent
                                                       to Distribute (Heroin), and Aiding and
                                                       Abetting
                                                       COUNT XIII: Title 21, U.S.C. § 846
                                                       and 841(a)(1) & 841(b)(1)(A), 18 U.S.C.
                                                       § 2 - Attempted Possession with intent
                                                       to Distribute (Cocaine), and Aiding and
                                                       Abetting
                                                       COUNT XIV: Title 18 U.S.C. §
                                                       1956(a)(2)(B)(i) and 1956(h)
                                                       Laundering of Monetary Instruments
                                                       Conspiracy


THE GRAND JURY CHARGES:

                                          COUNT ONE
                          [21 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A)J

       Beginning on or about October 2019, the exact date unknown, and continuing until the date

of this indictment, in the Western District of Texas, Defendants,


                           FAUSTINO CAMPOS NAJERA (2),
                        GENARO ORTIZ, also known as "Carita" (3),
                          VICENTE RIVERA CENICEROS (4),
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                          GUILLERMO BERMUDEZ OLIVARES (5),
                             RAFAEL PALACIOS SANCHEZ (7),
                          HE1UBERTO DE LA GARZA SAUCEDO (8),
                        JOSE LUIS NAJERA, also known as "Chepe" (11),

                     SERGIO IVAN CUELLAR, also known as "Checo" (13),
                                       and
                              HOMERO DE LA GARZA (15),
knowingly and intentionally conspired, combined, confederated, and agreed together, and with

each other, and with others, to commit the following offenses against the United States: to

distribute a controlled substance, which offense involved 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II Controlled

Substance, in violation of Title 21, United States Code Sections 841(a)(1) and 84l(b)(1)(A). All

in violation   of Title 21, United States Code, Section 846.

                                          COUNT TWO
                            121 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A)]

       Beginning on or about October 2019, the exact date unknown, and continuing until the date

of this indictment, in the Western District of Texas, Defendants,


                             FAUSTINO CAMPOS NAJERA (2),
                          GENARO ORTIZ, also known as "Carita" (3),
                            VICENTE RIVERA CENICEROS (4),
                          GUILLERMO BERMUDEZ OLIVARES (5),
                             RAFAEL PALACIOS SANCHEZ (7),

                          SALVADOR ELI LOZANO ALVARADO (10),
                        JOSE LUIS NAJERA, also known as "Chepe" (11),

                                 GERARDO SOTO GOMEZ (14),
                                           and



knowingly and intentionally conspired, combined, confederated, and agreed together, and with

each other, and with others, to commit the following offenses against the United States: to


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distribute a controlled substance, which offense involved    5   kilograms or more of a mixture or

substance containing a detectable amount of cocaine, a Schedule II Controlled Substance, in

violation of Title 21, United States Code Sections 841(a)(1) and 841(b)(1)(A). All in violation of

Title 21, United States Code, Section 846.


                                         COUNT THREE
                          121   U.S.C. § 846, 841(a)(1) & 841(b)(1)(A)1

       Beginning on or about October 2019, the exact date unknown, and continuing until the date

of this indictment, in the Western District of Texas, Defendants,

                        GENARO ORTIZ, also known as "Carita" (3),
                                        and
                           RAFAEL PALACIOS SANCHEZ (7),
knowingly and intentionally conspired, combined, confederated, and agreed together, and with

each other, and with others, to commit the following offenses against the United States: to

distribute a controlled substance, which offense involved    1   kilogram or more of a mixture or

substance containing a detectable amount of heroin, a Schedule I Controlled Substance, in

violation of Title 21, United States Code Sections 841(a)(1) and 841(b)(1)(A). All in violation of

Title 21, United States Code, Section 846.


                                      COUNT FOUR
                  [21 U.S.C. § 841(a)(1) & 841(b)(1)(C) and 18 U.S.C. § 2]

       That on or about November 22, 2019, in the Western District of Texas, Defendant,

                            VICENTE RIVERA CENICEROS (4),
aided and abetted by others, did knowingly, intentionally and unlawfully possess with the intent

to distribute, a controlled substance, which offense involved a mixture or substance containing a

detectable amount of cocaine, a Schedule II Controlled Substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and 841(b)(1)(C) and 18 U.S.C.      § 2.



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                                           COUNT FIVE
                             121   U.S.C. § 841(a)(1) & 841(b)(1)(A)]

        That on or about December 6, 2019, in the Western District of Texas, Defendant,

                         GUILLERMO BERMUDEZ OLIVARES (5),

did knowingly, intentionally and unlawfully possess with the intent to distribute, a controlled

substance, which offense involved 500 grams of a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and 841(b)(1)(A).



                                           COUNT SIX
                             [21 U.S.C. § 841(a)(1) & 841(b)(1)(A)]

        That on or about February 12, 2020, in the Western District of Texas, Defendant,

                         GUILLERMO BERMUDEZ OLIVARES (5),

did knowingly, intentionally and unlawfully possess with the intent to distribute, a controlled

substance, which offense involved 500 grams of a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and 841(b)(1)(A).


                                         COUNT SEVEN
                   [21 U.S.C. § 841(a)(1) & 841(b)(1)(A) and 18 U.S.C. § 2]

       That on or about March 6, 2020, in the Western District of Texas, Defendants,

                           FAUSTINO CAMPOS NAJERA (2),
                        GENARO ORTIZ, also known as "Carita" (3),
                          VICENTE RIVERA CENICEROS (4),
                                        and
                      JOSE LUIS NAJERA, also known as "Chepe" (11)

aided and abetted by each other, did knowingly, intentionally and unlawfully possess with the

intent to distribute, a controlled substance, which offense involved 500 grams or more of a mixture
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or substance containing a detectable amount of methamphetamine, a Schedule II Controlled

Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and

18 U.S.C. § 2.



                                      COUNT EIGHT
                   [21 U.S.C. § 841(a)(1) & 841(b)(1)(A) and 18 U.S.C. § 2]

        That on or about March 23, 2020, in the Western District of Texas, Defendants,

                         VICENTE RIVERA CENICEROS (4),
                   SERGIO IVAN CUELLAR, also known as "Checo" (13),
                                     and
                            HOMERO DE LA GARZA (15),

aided and abetted by each other, did knowingly, intentionally and unlawfully possess with the

intent to distribute, a controlled substance, which offense involved 500 grams or more of a mixture

or substance containing a detectable amount of methamphetamine, a Schedule II Controlled

Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(l)(A) and

18 U.S.C. § 2.




                                        COUNT NINE
                 [21 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A) and 18 U.S.C. § 2]

       That on or about March 30, 2020, in the Western District of Texas, Defendant,

                              FAUSTINO CAMPOS NAJERA (2),

aided and abetted by others, did lçnowingly, intentionally and unlawfully attempt to possess with

the intent to distribute, a controlled substance, which offense involved   5   kilograms or more of a

mixture or substance containing a detectable amount of cocaine, a Schedule              IT   Controlled

Substance, in violation of Title 21, United States Code, Sections 841 (a)( 1) and 841 (b)(1 )(A), and

18 U.S.C. § 2. All in violation Title 21, United States Code, Section 846.
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                                             COUNT TEN
                   [21 U.S.C. § 841(a)(1) & 841(b)(1)(A) and 18 U.S.C. § 2]

       That on or about April 28, 2020, in the Western District of Texas, Defendants,


                            FAUSTINO CAMPOS NAJERA (2),
                        GENARO ORTIZ, also known as "Carits" (3)
                        HERIBERTO DE LA GARZA SAUCEDO (8)
                                         and
                      JOSE LUIS NAJERA, also known as "Chepe" (11),

aided and abetted by each other, did knowingly, intentionally and unlawfully possess with the

intent to distribute, a controlled substance, which offense involved 500 grams or more of a mixture

or substance containing a detectable amount of methamphetamine, a Schedule II Controlled

Substanée, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), and

18 U.S.C. § 2.



                                          COUNT ELEVEN
                 [21 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A)         and 18 U.S.C. § 2]

       That on or about June 29, 2020, in the Western District of Texas, Defendant,

                        GENARO ORTIZ, also known as "Carita" (3),

aided and abetted by others, did knowingly, intentionally and unlawfully attempt to possess with

the intent to distribute, a controlled substance, which offense involved 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, a Schedule II

Controlled Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A), and 18 U.S.C.   §   2. All in violation   of Title 21, United States Code, Section 846.


                                     COUNT TWELVE
                 [21 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A) and 18 U.S.C.          § 2J

       That on or about June 29, 2020, in the Western District of Texas, Defendant,

                        GENARO ORTIZ, also known as "Carita" (3),
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aided and abetted by others, did knowingly, intentionally and unlawfully attempt to possess with

the intent to distribute, a controlled substance, which offense involved 5 kilograms or more of a

mixture or substance containing a detectable amount of cocaine, a Schedule II Controlled

Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), and

18 U.S.C. § 2. All in violation     of Title 21, United States Code, Section 846.


                                      COUNT THIRTEEN
                 [21 U.S.C. §       846, 841(a)(1) & 841(b)(1)(A) and 18 U.S.C. § 21

        That on or about June 29, 2020, in the Western District of Texas, Defendant,

                           GENARO ORTIZ, also known as "Carita" (3),

aided and abetted by others, did knowingly, intentionally and unlawfully attempt to possess with

the intent to distribute, a controlled substance, which offense involved     1   kilogram or more of a

mixture or substance containing a detectable amount of heroin, a Schedule I Controlled Substance,

in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), and 18 U.S.C. §

2. All in violation   of Title 21, United States Code, Section 846.


                                         COUNT FOURTEEN
                             118   U.S.C. § 1956(a)(2)(B)(i) and 1956(h)1

       Beginning on or about October 2019, the exact date unknown, and continuing until the date

of this indictment, in the Western District of Texas, Defendants,


                              FAUSTINO CAMPOS NAJERA (2),
                          GENARO ORTIZ, also known as "Carita" (3),
                             RAFAEL PALACIOS SANCHEZ (7),
                          HERIBERTO DE LA GARZA SAUCEDO (8),
                                          and
                        JOSE LUIS NAJERA, also known as "Chepe" (11)

did knowingly conspire with others known and unknown to the Grand Jury to transport, transmit

and transfer, and attempt to transport, transmit and transfer monetary instruments and funds from

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a place in the United States to or through a place outside the United States, knowing that the

monetary instrument and funds involved represented the proceeds of a specified unlawful activity,

to-wit: drug trafficking violations of Title 21, United States Code, Sections 846 and 841 (a)( 1),

knowing that such transportation, transmission, and transfer was designed in whole or in part to

conceal and disguise the nature, the location, the source, the ownership, or the control of the

proceeds of the specified unlawful activity, in violation of Title 18, United States Code, Sections

1956(a)(2)(B)(i) and 1956(h).



     NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                          [See Fed.R.Crim.P. 32.2]


                                                I.

                            Drug Violations and Forfeiture Statutes
                         [Title 21 USC § 846, 841(a)(1), and (b)(1)(A),
              subject to forfeiture pursuant to Title 21 USC § 853(a)(1) and (2)]

        As a result of the foregoing criminal violations set forth in Counts One through Thirteen,

the United States of America gives notice to Defendants of its intent to seek the forfeiture of the

properties described below upon conviction pursuant to Fed. R. Crim. p. 32.2 and Title 21 U.S.C.

§   853(a)(1) and (2), which states:

        Title 21 U.S.C. § 853. Criminal forfeitures
                (a) Property subject to criminal forfeitures.
                Any person convicted of a violation of this subchapter or subchapter 11 of this
                chapter punishable by imprisonment for more than one year shall forfeit to the
                United States, irrespective of any provision of State law.--
                       (1) any property constituting, or derived from, any proceeds the person
                       obtained, directly or indirectly, as the result of such violation;
                       (2) any of the person's property used, or intended to be used, in any
                       manner or part, to commit, or to facilitate the commission of, such
                       violation;
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                                                II.
                       Money Launderin Violations and Forfeiture Statutes
               [Title 18 U.S.C. § 1956(a)(2)(B)(i) and 1956(h), subject to forfeiture
                              pursuant to Title 18 U.S.C. § 982(a)(1)]

          As a result of the foregoing criminal violations set forth in Count Fourteen, the United

States of America gives notice to Defendants of its intent to seek the forfeiture of the property

described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C.            §   982(a)(1),

which states:

          Title 18 U.S.C. § 982. Criminal forfeiture
              (a)(1) The court, in imposing sentence on a person convicted of an offense in
              violation of section 1956. . . of this title, shall order that the person forfeit to the
              United States any property, real or personal, involved in such offense, or any
              property traceable to such property.

          This Notice of Demand for Forfeiture includes, but is not limited to the following properties

described in Paragraphs hI-Vu.

                                                    III.
                                              Real Properties

     1.    Real Property located and situated at 538 Pharis, San Antonio, Bexar County,
           Texas, with all buildings, appurtenances, and improvements thereon and any and
           all surface and sub-surface rights, title, and interests, if any, and being more fully
           described as follows:

           LOT 7, BLOCK 11, NEW CITY BLOCK 12327, ARROYO VISTA
           SUBDIVISION, CITY OF SAN ANTONIO, BEXAR COUNTY, TEXAS,
           ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN VOLUME
           9562, PAGES 5-6, AMENDED IN VOLUME 9566, PAGES 117-118, DEED
           AND PLAT RECORDS, BEXAR COUNTY, TEXAS.

     2. Real Property located and situated at 3054 Beacon Field, San Antonio, Bexar
           County, Texas, with all buildings, appurtenances, and improvements thereon and
           any and all surface and sub-surface rights, title, and interests, if any, and being
           more fully described as follows:

           LOT 14, BLOCK 13, HERITAGE PARK SUBDIVISION, UNIT 8, CITY OF
           SAN ANTONIO, BEXAR COUNTY, TEXAS, ACCORDING TO THE MAP OR
           PLAT THEREOF RECORDED N VOLUME 9511, PAGES 148-149, DEED
           AND PLAT RECORDS OF BEXAR COUNTY, TEXAS.


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                                            Iv.
                                       Firearms

1.   Glock 26, 9mm, Serial Number: ENH24O;
2.   Browning 9mm, Serial Number: 511ZW50243;
3.   Beretta AL 391 Urika 12 gauge shotgun, Serial Number: AA418582;
4. Bolt action rifle Weatherby MK5, 7mm, Magnum, Serial Number: H 108244;
5.   Colt MK IV Series 80, 380 handgun, Serial Number: RC3 8870;
6.   Bushmaster XM15 Carbine Rifle; Serial Number: L477540;
7.   Springfield Armory, Model XD-9, 9mm, Serial Number: XD895 888;
8.   Mossberg Rifle, Model Patriot, 3 0-60 caliber, Serial Number: MPRO25 1740;
9.   Stevens Rifle, Model 320, 20 gauge, Serial Number: 208728G;
10. Taurus TCP pistol, .380 caliber, Serial Number: PT738
11. North American Arms LTD 22 caliber revolver          5   round chamber, Serial Number:
     BLL2O1 ;and
12. Any and all firearms, ammunition, and/or accessories involved in or used in the
     commission of the criminal offenses.

                                            V.
                                       Currency

1.   $9,560.00, More or Less, in U.S. Currency seized at 538 Pharis Street;
2. $650.00, More or Less, in U.S. Currency seized at 302 Hermitage;
3. $3,000.00, More or Less, in U.S. Currency seized at 4150 Barrington Street;
4. $15,346.00, More or Less, in U.S. Currency seized at 419 Rosehill Drive; and
5. $1,700.00, More or Less, in U.S. Currency seized at 118 Maple Valley.


                                         VI.
                                       Vehicles

1.   2012 Dodge Ram 3500, Vin# 3C63DRGL2CG345494, seized from Faustino Campos
     Najera (2);
2.   2007 4-Star Horse Trailer with Living Quarters, Vin# 4FKPG302570027305, seized
     from
3.   2015 Chevrolet Silverado 2500, Vin# 1GC1KXE82FF598314, seized from Vicente
     Rivera Ceniceros (4); and
4.   2015 Dodge Ram 3500, Vin# 3C63RRNL4FG661827, seized from Guillermo
     Bermudez Olivares (5).
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                                              VII.
                                     Personal Properties
    1.   Counterfeit currency in the amount of $80.00, more or less;
   2. Counterfeit currency in the amount of $60.00, more or less;
   3. Knife set with 3 blades and case; and
   4. Digital pocket scale.




GREGG N. SOFER
UNITED STATES ATTORNEY



     ADRIAN ROSALES
     Assistant United States Attorney




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